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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

In re:

Melvin Leonard Wimmer, Jr.,                                   Case No. 17-03751-hb
                                                              Chapter 7
                        Debtor.



CONSENT ORDER FOR FED. R. BANKR. P. 2004 EXAMINATION OF THE DEBTOR

         The debtor has consented to be examined by the United States Trustee pursuant to the

provisions of Fed. R. Bankr. P. 2004 on December 11, 2017 at 10:30 a.m.

         NOW THEREFORE IT IS ORDERED, that Melvin Leonard Wimmer, Jr. shall submit to

an examination by the UST, through counsel, on December 11, 2017, at 10:30 a.m. at the offices

of the United States Trustee, 1835 Assembly Street, Suite 953, Columbia, South Carolina, (803)

765-5250. The examination will relate to the acts, conduct, property, liabilities, and financial

condition of the debtor. It is further

         FURTHER ORDERED, that the examination shall be recorded by sound or by

stenographic means and the debtor will be sworn under oath.
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I SO MOVE:

JUDY A. ROBBINS,
United States Trustee
Region Four


By: /s/ Linda K. Barr
Linda K. Barr, Id. 6284
Trial Attorney
Department of Justice
Office of the United States Trustee
1835 Assembly Street, Ste. 953
Columbia, SC 29201
(803) 765-5219
linda.k.barr@usdoj.gov

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I SO CONSENT:

By: /s/ Robert A. Pohl
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Greenville, SC 29616
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ATTORNEY FOR THE DEBTOR
